                   Case 23-10961-BLS                  Doc 11        Filed 07/22/23            Page 1 of 30




                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE

 In re:
                                                                    Chapter 11
 WILLIAMS INDUSTRIAL SERVICES
 GROUP INC., et al.,1                                               Case No. 23-10961 (TMH)

             Debtors.                                               (Joint Administration Requested)


     DEBTORS’ EMERGENCY MOTION FOR ENTRY OF INTERIM AND FINAL
     ORDERS (I) PROHIBITING UTILITIES FROM ALTERING, REFUSING, OR
    DISCONTINUING SERVICE ON ACCOUNT OF PREPETITION INVOICES; (II)
   DEEMING UTILITIES ADEQUATELY ASSURED OF FUTURE PERFORMANCE;
       (III) ESTABLISHING PROCEDURES FOR DETERMINING ADEQUATE
       ASSURANCE OF PAYMENT; AND (IV) GRANTING RELATED RELIEF

          The above-captioned debtors and debtors in possession (collectively, the “Debtors”) file

this Emergency Motion for Entry of Interim and Final Orders (I) Prohibiting Utilities from

Altering, Refusing, or Discontinuing Service on Account of Prepetition Invoices; (II) Deeming

Utilities Adequately Assured of Future Performance; (III) Establishing Procedures for

Determining Adequate Assurance of Payment; and (IV) Granting Related Relief (the “Motion”).

In support of the Motion, the Debtors respectfully represent as follows:

                                           JURISDICTION AND VENUE

          1.        This Court has jurisdiction over these cases and this matter pursuant to 28 U.S.C.

§§ 157 and 1334.

          2.        This is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2)(A).

          3.        Venue is proper in this district pursuant to 28 U.S.C. §§ 1408 and 1409(a).


1 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor's federal tax identification number, include:
Williams Industrial Services Group Inc. (1378), Williams Industrial Services Group, LLC (2666), Williams Industrial Services,
LLC (0406), Williams Plant Services, LLC (9575), Williams Specialty Services, LLC (9578), WISG Electrical, LLC (6918),
Construction & Maintenance Professionals, LLC (0925), Williams Global Services, Inc. (3708), Steam Enterprises, LLC (9177),
GPEG LLC (5707), Global Power Professional Services, Inc. (2550), WISG Canada Ltd. (B.N. 6518), WISG Nuclear Ltd. (B.N.
3510), and WISG Electrical Ltd. (B.N. 2116). The location of the Debtors' corporate headquarters and service address is: 200
Ashford Center N, Suite 425, Atlanta, GA 30338.



00054145.3
              Case 23-10961-BLS          Doc 11       Filed 07/22/23    Page 2 of 30




         4.    The bases for the relief requested herein are sections 105(a), 366, 1107, and 1108

of title 11 of the United States Code (the “Bankruptcy Code”) and Rules 6003 and 6004 of the

Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”).

         5.    Pursuant to Rule 9013-1(f) of the Local Rules of Bankruptcy Practice and

Procedure of the United States Bankruptcy Court for the District of Delaware (the “Local Rules”),

the Debtors consent to the entry of a final judgment or order with respect to this Motion if it is

determined that this Court, absent consent of the parties, cannot enter final orders or judgments

consistent with Article III of the United States Constitution.

                                         BACKGROUND

         6.    On the date hereof (“Petition Date”), the Debtors filed voluntary petitions for relief

under chapter 11 of the Bankruptcy Code in the United States Bankruptcy Court for the District of

Delaware, (the “Court”). The Debtors have continued in possession of their properties and have

continued to operate and manage their business as debtors in possession pursuant to sections

1107(a) and 1108 of the Bankruptcy Code. No request has been made for the appointment of a

trustee or examiner, and no official committee has yet been established in these cases.

         7.    The factual background relating to the Debtors’ commencement of these cases is

set forth in detail in the Declaration of Tracy Pagliara in Support of Chapter 11 Petitions and First

Day Pleadings (the “First Day Declaration”) filed on the Petition Date and incorporated herein by

reference.

         8.    Utility services are essential to the Debtors’ ability to sustain their operations while

these Chapter 11 cases are pending. To operate their business and manage their properties, the

Debtors incur utility expenses for gas, electric, water, telecommunications, cable, internet, security

and other similar services (collectively, the “Utility Services”). These Utility Services are provided




00054145.3                                        2
                Case 23-10961-BLS        Doc 11       Filed 07/22/23    Page 3 of 30




by approximately nine utility providers (“Utility Providers”), with which Debtors may have

multiple accounts. A non-exhaustive list identifying the Utility Providers is attached hereto as

Exhibit A (“Utilities Service List”).2

          9.    The Debtors spend an aggregate amount of approximately $69,150.00 each month

on Utility Services from the Utility Providers listed on the Utilities Service List.

          10.   In general, the Debtors have established satisfactory payment history with the

Utility Providers and have made payments on a regular and timely basis. The Debtors intend to

pay any postpetition obligations for the Utility Services in a timely fashion and in the ordinary

course.

          11.   Continued and uninterrupted Utility Services is vital to the Debtors’ ability to

sustain their operations during these Chapter 11 cases. Because of the nature of the Debtors’

operations, termination or interruption of the Debtors’ utility service would dramatically impair

the Debtors’ ability to conduct business and would cause considerable inconvenience to the

Debtors’ customers and employees. If the Utility Providers are permitted to terminate or disrupt

service to the Debtors, the Debtors’ primary revenue sources would be threatened.




2
  The listing of any entity on Exhibit A is not an admission that such entity is a utility within the
meaning of section 366 of the Bankruptcy Code. The Debtors reserve all rights to further address
the characterization of any particular entity listed on Exhibit A as a Utility Provider subject to
section 366(a). The Debtors further reserve the right to terminate the services of any Utility
Provider at any time and to seek an immediate refund of any utility deposit without effect to any
right of setoff or claim asserted by such Utility Provider against the Debtors. This Motion does not
seek assumption or rejection of any executory contract under section 365 of the Bankruptcy Code,
and the Debtors reserve the right to claim that any contract with the Utility Providers is or is not
an executory contract, as the facts may dictate. The relief requested herein is with respect to all
Utility Providers and is not limited only to those listed on Exhibit A.

00054145.3                                        3
               Case 23-10961-BLS        Doc 11       Filed 07/22/23   Page 4 of 30




                                    RELIEF REQUESTED

         12.   By this Motion, the Debtors respectfully request the entry of an interim and final

order (the “Interim Order” and the “Final Order”, respectively), pursuant to section 366 of the

Bankruptcy Code: (a) prohibiting the Utility Providers from altering, refusing, or discontinuing

service on account of prepetition invoices, (b) deeming utilities adequately assured of future

performance, (c) establishing the Determination Procedures (defined below) for determining

adequate assurance of payment, and (d) granting related relief.

         13.   Also, the Debtors request that the Court schedule a final hearing on this Motion

(“Final Hearing”) at its convenience on a date in advance of the expiration of thirty (30) days

following the Petition Date in order to, as discussed below: (a) address any outstanding objections

to the Motion and (b) resolve any disputes regarding adequate assurance of payment prior to the

expiration of the thirty (30) day period set forth in section 366(c)(2) of the Bankruptcy Code.

A.       The Proposed Adequate Assurance

         14.   The Debtors intend to pay all postpetition obligations owed to the Utility Providers

in a timely manner and expect that revenue generated from business operations and/or funds from

their cash collateral and proceeds from debtor in possession financing will be sufficient to pay all

undisputed postpetition utility obligations. Moreover, many of the Utility Providers hold bonds or

deposits that provide adequate assurance of payment. Nevertheless, to provide adequate assurance

of payment for future services to the Utility Providers as set forth in section 366(c) of the

Bankruptcy Code, the Debtors propose to deposit an initial sum equal to the Debtors’ estimated

average costs for two (2) weeks of Utility Services in a segregated, non-interest bearing account

(“Adequate Assurance Account”) ten (10) days after the date of entry of the Interim Order

(“Adequate Assurance Deposits”). The Adequate Assurance Account shall be maintained at a




00054145.3                                       4
               Case 23-10961-BLS         Doc 11       Filed 07/22/23   Page 5 of 30




banking institution that has entered into a Uniform Depository Agreement with the Office of the

United States Trustee for the District of Delaware. Because the Debtors’ monthly spending on

Utility Services is approximately $69,150.00, the Debtors propose that the Adequate Assurance

Deposit should be $34,575.00.

         15.   The Debtors propose to adjust the amount in the Adequate Assurance Account to

reflect the following factors: (i) the termination of Utility Services by the Debtors regardless of

any Additional Assurance Requests (as defined below), and (ii) agreements with the Utility

Providers regarding Additional Assurance Requests. These adjustments will permit the Debtors to

maintain the Adequate Assurance Account with an amount that consistently provides the Utility

Providers security for their Utility Services with a two-week deposit on account of such services,

except to the extent otherwise agreed.

         16.   The Debtors submit that the Adequate Assurance Deposits, in conjunction with the

Debtors’ ability to pay for future utility services in the ordinary course of business (collectively,

the “Proposed Adequate Assurance”), constitute sufficient adequate assurance to the Utility

Providers. If any Utility Provider believes additional assurance is required, they may request such

assurance pursuant to the procedures described below.

B.       The Proposed Determination Procedures

         17.   To address the rights of a Utility Provider under section 366(c)(2) of the Bankruptcy

Code and in light of the severe consequences to the Debtors of any interruption in services by the

Utility Providers, the Debtors propose the following procedures (the “Determination Procedures”)

for approval and adoption:

         (A)   Absent compliance with the Determination Procedures, a Utility Provider may not
               alter, refuse or discontinue service to or otherwise discriminate against the Debtors
               on account of the commencement of these Chapter 11 cases or any unpaid




00054145.3                                        5
               Case 23-10961-BLS         Doc 11       Filed 07/22/23   Page 6 of 30




               prepetition charges or request payment of a deposit or receipt of other security in
               connection with any unpaid prepetition charges.

         (B)   Within three (3) business days after the entry of the Interim Order on the Motion,
               the Debtors will serve a copy of the Interim Order on the Utility Providers on the
               Utilities Service List by first class mail. In the event that any Utility Provider has
               been omitted from the Utilities Service List, the Debtors shall supplement this list
               and shall promptly serve a copy of the Interim Order on such Utility Provider upon
               learning of such omission.

         (C)   If a Utility Provider is not satisfied with the Proposed Adequate Assurance provided
               by the Debtors, the Utility Provider must make a request for additional assurance
               of payment (a “Request”) and serve such Request so that it is received no later than
               seven (7) days prior to the Final Hearing by counsel for the Debtors, at Thompson
               Hine LLP, Two Alliance Center, 3560 Lenox Road NE, Suite 1600, Atlanta,
               Georgia 30326-4266 (ATTN: Sean A. Gordon, Esq.). Any such Request by a Utility
               Provider must specify the amount and nature of assurance of payment that would
               be satisfactory to the Utility Provider and must set forth (i) the type of utility
               services that are provided and the associated account number, (ii) the location for
               which the relevant utility services are provided, (iii) a list of any deposits or other
               security currently held by such Utility Provider and held by such Utility Provider
               immediately prior to the Petition Date on account of the Debtors, (iv) a description
               of any payment delinquency or irregularity by the Debtors for the postpetition
               period, and (v) the average monthly amount owed by the Debtors for each of the
               prior six months.

         (D)   Without further order of the Court, the Debtors may enter into agreements granting
               to the Utility Providers that have submitted Requests any assurance of payment that
               the Debtors, in their sole discretion, determine is reasonable.

         (E)   If a Utility Provider timely requests assurance of payment that the Debtors believe
               is unreasonable, and if after good faith negotiations by the parties, the parties are
               not able to resolve the issue, the adequacy of assurances of payment with respect to
               any such Utility Provider pursuant to section 366(c)(3) of the Bankruptcy Code will
               be determined at the Final Hearing.

         (F)   Pending resolution of a Request at the Final Hearing and pending entry of a final,
               non-appealable order thereon finding that the Utility Provider is not adequately
               assured of future payment, such Utility Provider shall be (i) prohibited from
               discontinuing, altering or refusing service to the Debtors on account of unpaid
               charges for prepetition services or on account of any objections to the Proposed
               Adequate Assurance, and (ii) deemed to have adequate assurance of payment.

         (G)   Any Utility Provider that does not timely request assurance of payment through a
               Request pursuant to the Determination Procedures automatically will be deemed to
               have received assurance of payment that is satisfactory to the Utility Provider under
               section 366(c)(2) without further action by the Debtors and without prejudice to the


00054145.3                                        6
               Case 23-10961-BLS         Doc 11       Filed 07/22/23    Page 7 of 30




               right of such Utility Provider to seek relief in the future pursuant to section
               366(c)(3).

         18.   The Debtors also request authorization to adjust periodically the amount in the

Adequate Assurance Account to reflect the following factors: (a) the termination of Utility

Services by the Debtors; and (b) the entry into any agreements between the Debtors and the

applicable Utility Providers.

         19.   Although the Debtors have made every attempt to identify any and all Utility

Providers, certain Utility Providers that currently provide utility services for the Debtors may not

be listed on the Utilities Service List. Accordingly, the Debtors request that the Court: (a) authorize

the Debtors to provide notice and a copy of the Interim Order (which, for purposes of this

paragraph, shall be the Final Order on this Motion after entry of such Final Order) to Utility

Providers not listed on the Utilities Service List (collectively, the “Additional Utility Providers”),

as such Utility Providers are identified, and (b) provide that the Additional Utility Providers are

subject to the terms of the Interim Order, including the Determination Procedures. As a result, the

Additional Utility Providers will be afforded thirty (30) days from the service of the Interim Order

on a particular Additional Utility Provider to request assurance of payment from the Debtors

pursuant to the Determination Procedures.

                                       BASIS FOR RELIEF

         20.   Section 366 of the Bankruptcy Code protects a debtor against the immediate

termination of utility services after commencing its case. 11 U.S.C. § 366(a). Section 366 applies

to “regulated public utilities providing electric, gas, telephone and water service” as well as “any

provider of services with a monopoly, such as a provider of cable television services.” 3 Collier

on Bankruptcy ¶ 366.05 (16th Ed.) (citing In re Good Time Charlie’s, Ltd., 25 B.R. 226 (Bankr.

E.D. Pa. 1982)). “However, in an era when utilities are being deregulated, the fact that a regulated



00054145.3                                        7
                 Case 23-10961-BLS           Doc 11       Filed 07/22/23    Page 8 of 30




monopoly does not exist does not preclude a service from being considered a ‘utility.’” Id. (citing

One Stop Realtour Place, Inc. v. Allegiance Telecom, Inc. (In re One Stop Realtour Place, Inc.),

268 B.R. 430 (Bankr. E.D. Pa. 2001)); In re Nw. Recreational Activities, Inc., 8 B.R. 7, 9 (Bankr.

N.D. Ga. 1980) (discussing the application of section 366 to “utilities”).

          21.     Section 366(b) provides that a utility provider may not alter, refuse, or discontinue

services to a debtor solely because of unpaid prepetition amounts unless, during the 20-day period

following the commencement date, the utility does not receive “adequate assurance” of payment

for postpetition services.3 11 U.S.C. § 366(b). Furthermore, under section 366(c)(2), a utility may

alter, refuse, or discontinue service in a chapter 11 case, if during the 30-day period beginning on




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    Section 366 of the Bankruptcy Code provides, in relevant part, as follows:
      (a) Except as provided in subsections (b) and (c) of this section, a utility may not alter, refuse,
          or discontinue service to, or discriminate against, the trustee or the debtor solely on the
          basis of the commencement of a case under this title or that a debt owed by the debtor to
          such utility for service rendered before the order for relief was not paid when due.
      (b) Such utility may alter, refuse, or discontinue service if neither the trustee nor the debtor,
          within 20 days after the date of the order for relief, furnishes adequate assurance of
          payment, in the form of a deposit or other security, for service after such date. On request
          of a party in interest and after notice and a hearing, the court may order reasonable
          modification of the amount of the deposit or other security necessary to provide adequate
          assurance of payment.
      (c) . . .
          (2) Subject to paragraphs (3) and (4), with respect to a case filed under chapter 11, a utility
                referred to in subsection (a) may alter, refuse, or discontinue utility service, if during
                the 30-day period beginning on the date of the filing of the petition, the utility does not
                receive from the debtor or the trustee adequate assurance of payment for utility service
                that is satisfactory to the utility.
          (3) (A) On request of a party in interest and after notice and a hearing, the court may order
                modification of the amount of an assurance of payment under paragraph (2).
                (B) In making a determination under this paragraph whether an assurance of payment
                    is adequate, the court may not consider —
                    (i) the absence of security before the date of the filing of the petition;
                    (ii) the payment by the debtor of charges for utility service in a timely manner
                         before the date of the filing of the petition; or
                    (iii)the availability of an administrative expense priority.


00054145.3                                            8
                Case 23-10961-BLS        Doc 11       Filed 07/22/23   Page 9 of 30




the petition date, the utility does not receive from the debtor adequate assurance of payment that

is satisfactory to the utility.

         22.     Prior to the enactment of the Bankruptcy Abuse Prevention and Consumer

Protection Act of 2005 (“2005 Amendments”), it was well established by courts, commentators,

and legislative history that section 366 of the Bankruptcy Code did not require, as a matter of

course, that the debtor provide a deposit or other security to its utilities as adequate assurance of

payment.4 Pursuant to changes made effective by the 2005 Amendments, in determining whether

an assurance of payment is adequate, the court may not consider (i) the absence of security before

the petition date; (ii) the debtor’s history of timely payments; or (iii) the availability of an

administrative expense priority. 11 U.S.C. § 366(c)(3)(B).

         23.     While the amended section 366(c) clarifies what does and does not constitute

“assurance of payment” and what can be considered in determining whether such assurance is

adequate, Congress, in enacting that section, did not divest this Court of its power to determine

what amount, if any, is necessary to provide adequate assurance of payment to a utility provider.

11 U.S.C. § 366(c)(3)(A). Specifically, pursuant to section 366(c)(3)(A), “[o]n request of a party

in interest and after notice and a hearing, the court may order modification of the amount of an

assurance of payment.” Id.; see In re Beach House Prop., LLC, No. 08-11761, 2008 Bankr. LEXIS

1091, at *3-4 (Bankr. S.D. Fla. Apr. 8, 2008) (quoting 3 Collier on Bankruptcy ¶ 366.03[2] (rev.



4
  For example, in Va. Elec. & Power Co. v. Caldor, Inc., 117 F.3d 646, 647 (2d Cir. 1997), the
United States Court of Appeals for the Second Circuit affirmed the bankruptcy court’s ruling that
the debtor’s prepetition payment history, its postpetition liquidity, and the administrative expense
priority afforded to postpetition invoices constituted adequate assurance of future performance.
The Second Circuit rejected the argument that section 366(b) nevertheless required a “deposit or
other security,” holding that “a bankruptcy court’s authority to ‘modify’ the level of the ‘deposit
or other security,’ provided for under section 366(b), includes the power to require no ‘deposit or
other security’ where none is necessary to provide a utility supplier with ‘adequate assurance of
payment.’” Id. at 650.


00054145.3                                        9
               Case 23-10961-BLS        Doc 11      Filed 07/22/23     Page 10 of 30




15th ed. 2006) (“Under § 366(c)(2), the debtor must pay what the utility demands, unless the court

orders otherwise.” (emphasis added in Beach House))).

         24.    Under section 366(c), there is nothing to prevent a court from deciding, as courts

did before the enactment of the 2005 Amendments, that, a nominal adequate assurance payment

or no payment at all to a utility provider is appropriate given the particular facts of a case. See In

re Buffets Holdings, Inc., No. 08-10141 (Bankr. D. Del. Jan. 23, 2008) (approving adequate

assurance consisting of an escrow equal to 50% of the estimated costs of monthly utility

consumption); In re Pac-West Telecomm, Inc., No. 07-10562 (Bankr. D. Del. May 2, 2007)

(approving adequate assurance that was a one-time supplemental prepayment to each Utility

Provider equal to pro-rated amount of one week’s charges).

         25.    Historically, Chapter 11 debtors were able, under section 366 of the Bankruptcy

Code, to put the onus on utility providers to argue that whatever form of adequate assurance

proposed by the debtor was insufficient. The 2005 Amendments arguably shift the burden onto the

debtor to provide adequate assurance that the utility providers find satisfactory, and to seek court

review if a utility provider does not accept the proposed adequate assurance. Under this reading of

section 366, a Utility Provider could, on the 29th day following the Petition Date, announce that

the proposed adequate assurance is not acceptable, demand an unreasonably large deposit in the

context of the risk of nonpayment, and threaten to terminate the utility service the next day unless

the Debtors complied with the demand. While the Debtors do not concede that this is a correct

reading of amended section 366, the Debtors nonetheless believe it is prudent to require Utility

Providers to raise any objections to the Proposed Adequate Assurance so that such objections may

be heard by the Court prior to the running of the 30-day period following the Petition Date.




00054145.3                                       10
               Case 23-10961-BLS        Doc 11     Filed 07/22/23     Page 11 of 30




         26.    Congress has not changed the requirement that the assurance of payment only be

“adequate.” Courts construing section 366(b) of the Bankruptcy Code have long recognized that

“adequate” assurance of payment does not require an absolute guarantee of the debtor’s ability to

pay. See, e.g., In re Caldor, Inc. – NY, 199 B.R. 1, 3 (S.D.N.Y. 1996) (“Section 366(b) requires [a

b]ankruptcy [c]ourt to determine whether the circumstances are sufficient to provide a utility with

‘adequate assurance’ of payment. The statute does not require an ‘absolute guarantee of

payment.’”) (citation omitted), aff’d sub nom. Va. Elec. & Power Co. v. Caldor, Inc. – NY, 117

F.3d 646 (2d Cir. 1997); In re C.T. Harris, Inc., 295 B.R. 405, 406-07 (Bankr. M.D. Ga. 2003)

(noting that debtor’s “current liquidity” was adequate assurance of future payment); In re Anchor

Glass Container Corp., 342 B.R. 872, 875 (Bankr. M.D. Fla. 2005); Adelphia Bus. Solutions, Inc.,

280 B.R. 63, 80 (Bankr. S.D.N.Y. 2002); In re Astle, 338 B.R. 855, 860–61 (Bankr. D. Idaho 2006)

(“Adequate assurance of payment under subsection (b) does not require an absolute guarantee of

payment. What is required is that the utility will be protected from unreasonable risk of

nonpayment.” (internal quotation marks omitted)); In re Adelphia Bus. Solutions, Inc., 280 B.R.

63, 80 (Bankr. S.D.N.Y. 2002) (“The requirement is for ‘adequate assurance’ of payment, which .

. . need not necessarily be provided by deposit . . . . Whether utilities have adequate assurance of

future payment is determined by the individual circumstances of each case.”) (citation omitted).

         27.    Despite the language in section 366(c)(2) of the Bankruptcy Code allowing a utility

to take action against a debtor should the debtor fail to provide adequate assurance of payment that

is “satisfactory” to the utility, section 366 of the Bankruptcy Code does not require that the

assurance provided be deemed satisfactory by the utility once the Court determines the appropriate

amount of adequate assurances.




00054145.3                                       11
               Case 23-10961-BLS        Doc 11     Filed 07/22/23     Page 12 of 30




         28.    The protection granted to a utility is intended to avoid exposing the utility to an

unreasonable risk of nonpayment. In re Adelphia Bus. Solutions, 280 B.R. at 80. Whether a utility

is subject to an unreasonable risk of nonpayment must be determined from the facts and

circumstances of each case. See In re Anchor Glass Container, 342 B.R. at 875; In re Keydata

Corp., 12 B.R. 156, 158 (B.A.P. 1st Cir. 1981).

         29.    The essence of the Court’s inquiry is an examination of the totality of the

circumstances in making an informed judgment as to whether utilities will be subject to an

unreasonable risk of nonpayment for postpetition services. Adelphia, 280 B.R. at 82–83; see also

Anchor Glass Container, 342 B.R. at 875 (“The type of arrangement that constitutes adequate

assurance of future payment is a fact-intensive inquiry, determined under the individual

circumstances of the case.”).

         30.    The Debtors believe that the Proposed Adequate Assurance is reasonable and

satisfies the requirements of section 366 of the Bankruptcy Code.

         31.    Further, the Court possesses the power, under section 105(a) of the Bankruptcy

Code, to “issue any order, process, or judgment that is necessary or appropriate to carry out the

provisions of this title.” 11 U.S.C. § 105(a). The proposed Determination Procedures will ensure

that the Utility Services are continued without prejudicing the Utility Providers.

         32.    The relief requested herein will ensure that the Debtors’ operations will not be

disrupted by the suspension or termination of vital Utility Services or the requests by the Utility

Providers of unnecessarily large deposits that could endanger the Debtors’ liquidity. If a disruption

were to occur, the impact on the Debtors’ business operations and revenues would be extremely

harmful to the Debtors and all of their creditors. Without the requested relief, any interruption in

services by the Utility Providers could bring the Debtors’ business to a grinding halt. Even if the




00054145.3                                        12
               Case 23-10961-BLS         Doc 11      Filed 07/22/23     Page 13 of 30




Utility Providers did not interrupt their services, without the requested relief the Debtors could be

forced to address numerous requests by Utility Providers in a disorganized manner during a critical

period in these chapter 11 cases. At the same time, the relief requested provides the Utility

Providers with a fair and orderly procedure for determining requests for additional or different

adequate assurance.

                               EMERGENCY CONSIDERATION

         33.    The Debtors respectfully request emergency consideration of this Motion pursuant

to Bankruptcy Rule 6003, which empowers a court to grant relief within the first 21 days after the

commencement of a chapter 11 case “to the extent that relief is necessary to avoid immediate and

irreparable harm.” Here, the Debtors believe an immediate and orderly transition into Chapter 11

is critical to the viability of its operations and that any delay in granting the relief requested could

hinder the Debtors’ operations and cause irreparable harm. Furthermore, the failure to receive the

requested relief during the first 21 days of these Chapter 11 cases would severely disrupt the

Debtors’ operations at this critical juncture. Accordingly, the Debtors submit that they have

satisfied the “immediate and irreparable harm” standard of Bankruptcy Rule 6003 and, therefore,

respectfully request that the Court approve the relief requested in this Motion on an emergency

basis.

                            WAIVER OF ANY APPLICABLE STAY

         34.    To implement the foregoing successfully, the Debtors seek a waiver of the notice

requirements under Bankruptcy Rule 6004(a) and the 14-day stay of an order authorizing the use,

sale or lease of property under Bankruptcy Rule 6004(h).




00054145.3                                        13
               Case 23-10961-BLS            Doc 11    Filed 07/22/23     Page 14 of 30




                                                 NOTICE

         35.    The Debtors have provided notice of this motion to: (a) the Office of the United

States Trustee for the District of Delaware; (b) the Debtors’ thirty (30) largest unsecured creditors;

(c) counsel to the administrative agents for the Debtors’ prepetition credit facilities; (d) the Internal

Revenue Service; (e) the Georgia Department of Revenue; (f) the Delaware Division of Revenue;

(f) the United States Attorney for the District of Delaware; (g) the Securities and Exchange

Commission; (h) the state attorneys general for states in which the Debtors conduct business; (i)

the Utility Providers; and (j) any party that has requested notice pursuant to Bankruptcy Rule 2002.

Notice of this Motion and any order entered hereon will be served in accordance with Rule 9013-

1(m) of the Local Rules of Bankruptcy Practice and Procedure of the Court.

                                         NO PRIOR REQUEST

         36.    No prior request for relief sought in this Motion has been made to this or any other

Court.

         WHEREFORE, the Debtors respectfully request that the Court (a) enter an Interim Order

substantially in the form attached hereto as Exhibit B granting the relief requested herein on an

interim basis; (b) enter a Final Order substantially in the form attached hereto as Exhibit C

granting the relief requested herein on a final basis; and (c) grant the Debtors such other and further

relief as is just and proper.

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00054145.3                                           14
             Case 23-10961-BLS   Doc 11    Filed 07/22/23   Page 15 of 30




 Dated: July 22, 2023
 Wilmington, Delaware
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                                     -and-

                                     Sean A. Gordon (pro hac vice pending)
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                                     Alan R. Lepene (pro hac vice pending)
                                     Scott B. Lepene (pro hac vice pending)
                                     THOMPSON HINE LLP
                                     3900 Key Center
                                     127 Public Square
                                     Cleveland, Ohio 44114-1291
                                     Telephone: (216) 566-5500
                                     Facsimile: (216) 566-5800
                                     Alan.Lepene@thompsonhine.com
                                     Scott.Lepene@thompsonhine.com

                                     Proposed Counsel for Debtors




00054145.3                                15
                               Case 23-10961-BLS         Doc 11     Filed 07/22/23     Page 16 of 30




                                                           EXHIBIT A
                                                      Utilities Service List




                                                                                                                       Creditor
                   Name                       Address1               Address2              City        State   Zip
                                                                                                                       Type

                                                                                                                       All
       18-27A 42ND STREET ASTORIA LLC   18-27A 42ND STREET                           ASTORIA           NY      11105   Utilities
       FRONTIER COMMUNICATIONS          401 MERRIT 7                                 NORWALK            CT     06851   Telecom
                                        ACCT#
       COMCAST                          8220202106047755          P O BOX 530099     ATLANTA           GA      30353   Telecom
                                                                                                                       All
       LANE LAND DEVELOPMENT LLC        200 E. FORSYTH                               JACKSONVILLE       FL     32202   Utilities
       ADT SECURITY SERVICES            P. O. Box 371878                             Pittsburgh         PA     15250   Security
       VERIZON WIRELESS                 P.O.BOX 660108                               DALLAS            TX      75266   Telecom
       WOW! INTERNET CABLE AND                                    ACCT 3007-1974-
       PHONE                            P O BOX 71101             7                  CHARLOTTE         NC      28272   Telecom
       GRANITE TELECOMMUNICATIONS       100 NEWPORT
       LLC                              AVENUE EXTENSION                             QUINCY            MA      02171   Telecom
       VERIZON WIRELESS                 P.O.BOX 660108                               DALLAS            TX      75266   Telecom




00054145.3
             Case 23-10961-BLS   Doc 11   Filed 07/22/23   Page 17 of 30




                                   EXHIBIT B
                                  Interim Order




00054145.3
                   Case 23-10961-BLS          Doc 11       Filed 07/22/23        Page 18 of 30




                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

    In re:
                                                           Chapter 11
    WILLIAMS INDUSTRIAL SERVICES
    GROUP INC., et al.,1                                   Case No. 23-10961 (TMH)

              Debtors.                                     (Jointly Administered)

                                                           Related Docket No. __

INTERIM ORDER (I) PROHIBITING UTILITIES FROM ALTERING, REFUSING, OR
   DISCONTINUING SERVICE ON ACCOUNT OF PREPETITION INVOICES; (II)
  DEEMING UTILITIES ADEQUATELY ASSURED OF FUTURE PERFORMANCE;
      (III) ESTABLISHING PROCEDURES FOR DETERMINING ADEQUATE
      ASSURANCE OF PAYMENT; AND (IV) GRANTING RELATED RELIEF

             This matter is before the Court on the Emergency Motion for Entry of Interim and Final

Orders (I) Prohibiting Utilities from Altering, Refusing, or Discontinuing Service on Account of

Prepetition Invoices; (II) Deeming Utilities Adequately Assured of Future Performance; (III)

Establishing Procedures for Determining Adequate Assurance of Payment; and (IV) Granting

Related Relief (“Motion”) [Docket No. ___] of the above-captioned debtors and debtors in

possession (collectively, the “Debtors”). All capitalized terms used but not defined herein shall

have the meanings given to them in the Motion.

             The Court has considered the Motion, the First Day Declaration, and the matters reflected

in the record of the hearing held on the Motion on __________ _____, 2023. It appears that proper

and adequate notice of the Motion has been given and that no other or further notice is necessary;


1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor's federal tax identification
number, include: Williams Industrial Services Group Inc. (1378), Williams Industrial Services Group, LLC (2666),
Williams Industrial Services, LLC (0406), Williams Plant Services, LLC (9575), Williams Specialty Services, LLC
(9578), WISG Electrical, LLC (6918), Construction & Maintenance Professionals, LLC (0925), Williams Global
Services, Inc. (3708), Steam Enterprises, LLC (9177), GPEG LLC (5707), Global Power Professional Services, Inc.
(2550), WISG Canada Ltd. (B.N. 6518), WISG Nuclear Ltd. (B.N. 3510), and WISG Electrical Ltd. (B.N. 2116). The
location of the Debtors' corporate headquarters and service address is: 200 Ashford Center N, Suite 425, Atlanta, GA
30338.
              Case 23-10961-BLS         Doc 11        Filed 07/22/23   Page 19 of 30




and the Court having found that this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2); and

the Court having found that venue of this proceeding and the Motion in this district is proper

pursuant to 28 U.S.C. § 1408; and it appearing that the relief requested is in the best interests of

the Debtors, the Debtors’ estates, their creditors, and other parties in interest, and that good cause

has been shown therefor;

         IT IS HEREBY ORDERED:

         1.    The Motion is granted to the extent set forth herein.

         2.    The terms and conditions of this Order shall be immediately effective and

enforceable upon its entry.

         3.    The final hearing (the “Final Hearing”) on the Motion shall be held on __________

_____, 2023 at __:__ _.m. prevailing Eastern Time. Any objections or responses to entry of a final

order on the Motion shall be filed on or before 4:00 p.m., prevailing Eastern Time, on _________,

2023, and shall be served on: (i) the Debtors; (ii) proposed counsel for the Debtors, Thompson

Hine LLP, (Attn: Alan Lepene.), email: alan.lepene@thompsonhine.com and Chipman Brown

Cicero & Cole, LLP (Attn: Mark L. Desgrosseilliers), email: desgross@chipmanbrown.com; (iii)

counsel to the administrative agents for the Debtors’ prepetition credit facilities, Blank Rome LLP

(Attn: Regina Stango Kelbon, Gregory F. Vizza), email: regina.kelbon@blankrome.com,

gregory.vizza@blankrome.com; (iv) counsel to any statutory committee appointed in these Cases;

and (v) the Office of the United States Trustee for the District of Delaware, (Attn: Linda

Richenderfer); email: linda.richenderfer@usdoj.gov. If no objections to entry of a final order on

the Motion are timely received, this Court may enter such final order without further notice or

hearing.




00054145.3                                        2
                Case 23-10961-BLS         Doc 11        Filed 07/22/23   Page 20 of 30




         4.      The Debtors are authorized, but not directed, to pay on a timely basis, in accordance

with their prepetition practices, all undisputed invoices in respect of postpetition Utility Services

rendered by the Utility Providers to the Debtors.

         5.      The following Adequate Assurance Procedure is hereby approved. The Debtors

will deposit the Adequate Assurance Deposit in the Adequate Assurance Account ten (10) days

after the entry of this Order. The Adequate Assurance Account shall be maintained at a banking

institution that has entered into a Uniform Depository Agreement with the Office of the United

States Trustee for the District of Delaware. The Debtors may reduce the amount deposited in the

Adequate Assurance Account in the event that their relationship with any Utility Provider is

terminated.

         6.      Until such time as the Final Order is entered, subject to the procedures described

below, no Utility Provider may alter, refuse, terminate, or discontinue services to, and/or

discriminate against the Debtors on the basis of commencement of these cases or on account of

unpaid invoices for service provided by any of the Utility Providers to the Debtors prior to the

Petition Date.

         7.      Notwithstanding the terms of paragraph 4 above, the following procedures shall be

used by the Court to determine, if necessary, whether the requested assurance of payment by a

Utility Provider is adequate (the “Determination Procedures”):

              (a) Absent compliance with the Determination Procedures, a Utility Provider may not
                  alter, refuse or discontinue service to or otherwise discriminate against the Debtors
                  on account of the commencement of these chapter 11 cases or any unpaid
                  prepetition charges or request payment of a deposit or receipt of other security in
                  connection with any unpaid prepetition charges.

              (b) Within three (3) business days after the entry of this Order on the Motion, the
                  Debtors will serve a copy of this Order to the Utility Providers on the Utilities
                  Service List by first class mail. In the event that any Utility Provider has been
                  omitted from the Utilities Service List, the Debtors shall supplement this list and



00054145.3                                          3
                Case 23-10961-BLS          Doc 11        Filed 07/22/23   Page 21 of 30




                 shall promptly serve a copy of the Interim Order on such Utility Provider upon
                 learning of such omission.

              (c) If a Utility Provider is not satisfied with the Proposed Adequate Assurance provided
                  by the Debtors, the Utility Provider may make a request for additional assurance of
                  payment (a “Request”) and serve such Request so that it is received no later than
                  seven (7) days prior to the Final Hearing by counsel for the Debtors, at Thompson
                  Hine LLP, Two Alliance Center, 3560 Lenox Road NE, Suite 1600, Atlanta,
                  Georgia 30326-4266 (Attention: Sean A. Gordon, Esq.). Any such Request by a
                  Utility Provider must specify the amount and nature of assurance of payment that
                  would be satisfactory to the Utility Provider and must set forth (i) the type of utility
                  services that are provided and the associated account number, (ii) the location for
                  which the relevant utility services are provided, (iii) a list of any deposits or other
                  security currently held by such Utility Provider and held by such Utility Provider
                  immediately prior to the Petition Date on account of the Debtors, (iv) a description
                  of any payment delinquency or irregularity by the Debtors for the postpetition
                  period, and (v) the average monthly amount owed by the Debtors for each of the
                  prior six months.

              (d) Without further order of the Court, the Debtors may enter into agreements granting
                  to the Utility Providers that have submitted Requests any assurance of payment that
                  the Debtors, in their sole discretion, determine is reasonable.

              (e) If a Utility Provider timely requests assurance of payment that the Debtors believe
                  is unreasonable, and if after good faith negotiations by the parties, the parties are
                  not able to resolve the issue, the adequacy of assurances of payment with respect to
                  any such Utility Provider pursuant to section 366(c)(3) of the Bankruptcy Code will
                  be determined at the Final Hearing.

              (f) Pending resolution of a Request at the Final Hearing and pending entry of a final,
                  non-appealable order thereon finding that the Utility Provider is not adequately
                  assured of future payment, such Utility Provider shall be (i) prohibited from
                  discontinuing, altering or refusing service to the Debtors on account of unpaid
                  charges for prepetition services or on account of any objections to the Proposed
                  Adequate Assurance and (ii) deemed to have adequate assurance of payment.

              (g) Any Utility Provider that does not timely request assurance of payment through a
                  Request pursuant to the Determination Procedures automatically will be deemed to
                  have received assurance of payment that is satisfactory to the Utility Provider under
                  section 366(c)(2) without further action by the Debtors and without prejudice to the
                  right of such Utility Provider to seek relief in the future pursuant to section
                  366(c)(3).

         8.      The Debtors are authorized, as necessary, to adjust periodically the amount in the

Adequate Assurance Account to reflect the following two factors: (a) the termination of Utility




00054145.3                                           4
               Case 23-10961-BLS        Doc 11        Filed 07/22/23   Page 22 of 30




Services by the Debtors; and (b) the entry into any agreements between the Debtors and the

applicable Utility Providers.

         9.     If an amount relating to Utility Services provided postpetition by a Utility Provider

is unpaid, and remains unpaid beyond any applicable grace period, such Utility Provider may

request a disbursement from the Adequate Assurance Account by giving notice to counsel to the

Debtors, Thompson Hine LLP, Two Alliance Center, 3560 Lenox Road NE, Suite 1600, Atlanta,

Georgia 30326-4266 (Attention: Sean A. Gordon, Esq.). Within five (5) business days after the

date the request is received by the Debtors, the Debtors shall either (i) bring the account current or

(ii) honor the request, subject to the ability of the Debtors and any such requesting Utility Provider

to resolve any dispute regarding such request without further order of the Court. In no event shall

a Utility Provider be permitted to receive aggregate disbursements in excess of the total amount

set forth for such Utility Provider under the column labeled “Adequate Assurance” on Exhibit 1

attached hereto. If the Debtors do not bring the account current, the Utility Provider may terminate

Utility Services as to the account for which such disbursement from the Adequate Assurance is

required.

         10.    In addition, the Debtors are authorized, as necessary, to provide notice and a copy

of this Order to any Additional Utility Providers as such Additional Utility Providers are identified.

Such Additional Utility Providers shall be subject to the terms of the Interim Order, including the

Determination Procedures. If an Additional Utility Provider fails to submit a Request within thirty

(30) days after being served with this Order, the Additional Utility Provider shall be deemed to

have received adequate assurance of payment that is satisfactory to such Additional Utility

Provider pursuant to section 366(c)(2) of the Bankruptcy Code without prejudice to the right of

such Additional Utility Provider to seek relief in the future pursuant to section 366(c)(3)(A).




00054145.3                                        5
               Case 23-10961-BLS        Doc 11        Filed 07/22/23   Page 23 of 30




         11.    The Debtors are authorized to take all actions necessary to effectuate the relief

granted in this Interim Order in accordance with the Motion.

         12.    The Court finds and determines that the requirements of Bankruptcy Rule 6003 are

satisfied and that the relief requested is necessary to avoid immediate and irreparable harm.

         13.    The requirements set forth in Bankruptcy Rule 6004(a) are hereby waived.

         14.    Notwithstanding any applicability of Bankruptcy Rule 6004(h), the terms and

conditions of this Order shall be immediately effective and enforceable upon its entry.

         15.    The Court shall retain jurisdiction to hear and determine all matters arising from or

related to the implementation and/or interpretation of this Order.

         16.    Counsel for the Debtors is directed to serve a copy of this Order on all the parties

that received service of the Motion within three (3) days of the entry of this Order and file a

certificate of service with the Clerk of Court.




00054145.3                                        6
                               Case 23-10961-BLS         Doc 11     Filed 07/22/23     Page 24 of 30




                                                           EXHIBIT 1

                                                      Utilities Service List




                                                                                                                       Creditor
                   Name                       Address1               Address2              City        State   Zip
                                                                                                                       Type

                                                                                                                       All
       18-27A 42ND STREET ASTORIA LLC   18-27A 42ND STREET                           ASTORIA           NY      11105   Utilities
       FRONTIER COMMUNICATIONS          401 MERRIT 7                                 NORWALK            CT     06851   Telecom
                                        ACCT#
       COMCAST                          8220202106047755          P O BOX 530099     ATLANTA           GA      30353   Telecom
                                                                                                                       All
       LANE LAND DEVELOPMENT LLC        200 E. FORSYTH                               JACKSONVILLE       FL     32202   Utilities
       ADT SECURITY SERVICES            P. O. Box 371878                             Pittsburgh         PA     15250   Security
       VERIZON WIRELESS                 P.O.BOX 660108                               DALLAS            TX      75266   Telecom
       WOW! INTERNET CABLE AND                                    ACCT 3007-1974-
       PHONE                            P O BOX 71101             7                  CHARLOTTE         NC      28272   Telecom
       GRANITE TELECOMMUNICATIONS       100 NEWPORT
       LLC                              AVENUE EXTENSION                             QUINCY            MA      02171   Telecom
       VERIZON WIRELESS                 P.O.BOX 660108                               DALLAS            TX      75266   Telecom




00054145.3                                   1
Case 23-10961-BLS   Doc 11   Filed 07/22/23   Page 25 of 30




                      EXHIBIT C

                      Final Order
                   Case 23-10961-BLS          Doc 11         Filed 07/22/23      Page 26 of 30




                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

    In re:
                                                             Chapter 11
    WILLIAMS INDUSTRIAL SERVICES
    GROUP INC., et al.,1                                     Case No. 23-10961 (TMH)

              Debtors.                                       (Jointly Administered)

                                                             Related Docket No. __

     FINAL ORDER (I) PROHIBITING UTILITIES FROM ALTERING, REFUSING, OR
      DISCONTINUING SERVICE ON ACCOUNT OF PREPETITION INVOICES; (II)
     DEEMING UTILITIES ADEQUATELY ASSURED OF FUTURE PERFORMANCE;
         (III) ESTABLISHING PROCEDURES FOR DETERMINING ADEQUATE
         ASSURANCE OF PAYMENT; AND (IV) GRANTING RELATED RELIEF

             This matter is before the Court on the Emergency Motion for Entry of Interim and Final

Orders (I) Prohibiting Utilities from Altering, Refusing, or Discontinuing Service on Account of

Prepetition Invoices; (II) Deeming Utilities Adequately Assured of Future Performance; (III)

Establishing Procedures for Determining Adequate Assurance of Payment; and (IV) Granting

Related Relief (“Motion”) [Docket No. ______] of the above-captioned debtors and debtors in

possession (collectively, the “Debtors”). All capitalized terms used but not defined herein shall

have the meanings given to them in the Motion. On _________ ____, 2023 the Court granted the

Motion on an interim basis and scheduled a Final Hearing for __________ ___, 2023.

             The Court has considered the Motion, the First Day Declaration, and the matters reflected

in the record of the hearings held on the Motion on __________ ___, 2023 and on _________



1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor's federal tax identification
number, include: Williams Industrial Services Group Inc. (1378), Williams Industrial Services Group, LLC (2666),
Williams Industrial Services, LLC (0406), Williams Plant Services, LLC (9575), Williams Specialty Services, LLC
(9578), WISG Electrical, LLC (6918), Construction & Maintenance Professionals, LLC (0925), Williams Global
Services, Inc. (3708), Steam Enterprises, LLC (9177), GPEG LLC (5707), Global Power Professional Services, Inc.
(2550), WISG Canada Ltd. (B.N. 6518), WISG Nuclear Ltd. (B.N. 3510), and WISG Electrical Ltd. (B.N. 2116). The
location of the Debtors' corporate headquarters and service address is: 200 Ashford Center N, Suite 425, Atlanta, GA
30338.


00054145.3                                               2
              Case 23-10961-BLS         Doc 11       Filed 07/22/23    Page 27 of 30




_____, 2023. It appears that proper and adequate notice of the Motion has been given and that no

other or further notice is necessary; and the Court having found that this is a core proceeding

pursuant to 28 U.S.C. § 157(b)(2); and the Court having found that venue of this proceeding and

the Motion in this district is proper pursuant to 28 U.S.C. § 1408; and it appearing that the relief

requested is in the best interests of the Debtors, the Debtors’ estates, their creditors, and other

parties in interest, and that good cause has been shown therefor;

         IT IS HEREBY ORDERED:

         1.    The Motion is granted to the extent set forth herein.

         2.    The terms and conditions of this Final Order shall be immediately effective and

enforceable upon its entry.

         3.    The Debtors are authorized, but not directed, to pay on a timely basis, in accordance

with their prepetition practices, all undisputed invoices in respect of postpetition utility services

rendered by the Utility Providers to the Debtors.

         4.    All Utility Providers are prohibited from altering, refusing, or discontinuing

services to, and/or discriminating against the Debtors on the basis of commencement of these cases

or on account of unpaid invoices for service provided by any of the Utility Providers to the Debtors

prior to the Petition Date.

         5.    The procedures approved in the Interim Order are approved on a final basis.

         6.    The Debtors are authorized, as necessary, to adjust periodically the amount in the

Adequate Assurance Account to reflect the following two factors: (a) the termination of Utility

Services by the Debtors; and (b) the entry into any agreements between the Debtors and the

applicable Utility Providers.




00054145.3                                       3
              Case 23-10961-BLS         Doc 11        Filed 07/22/23   Page 28 of 30




         7.    If an amount relating to Utility Services provided postpetition by a Utility Provider

is unpaid, and remains unpaid beyond any applicable grace period, such Utility Provider may

request a disbursement from the Adequate Assurance Account by giving notice to counsel to the

Debtors, Thompson Hine LLP, Two Alliance Center, 3560 Lenox Road NE, Suite 1600, Atlanta,

Georgia 30326-4266 (Attention: Sean A. Gordon, Esq.). Within five (5) business days after the

date the request is received by the Debtors, the Debtors shall either (i) bring the account current or

(ii) honor the request, subject to the ability of the Debtors and any such requesting Utility Provider

to resolve any dispute regarding such request without further order of the Court. In no event shall

a Utility Provider be permitted to receive aggregate disbursements in excess of the total amount

set forth for such Utility Provider under the column labeled “Adequate Assurance” on Exhibit 1

attached hereto. If the Debtors do not bring the account current, the Utility Provider may terminate

Utility Services as to the account for which such disbursement from the Adequate Assurance is

required.

         8.    In addition, the Debtors are authorized, as necessary, to provide notice and a copy

of this Final Order to any Additional Utility Providers as such Additional Utility Providers are

identified. Such Additional Utility Providers shall be subject to the terms of the Final Order,

including the Determination Procedures. If an Additional Utility Provider fails to submit a Request

within thirty (30) days after being served with this Final Order, the Additional Utility Provider

shall be deemed to have received adequate assurance of payment that is satisfactory to such

Additional Utility Provider pursuant to section 366(c)(2) of the Bankruptcy Code without

prejudice to the right of such Additional Utility Provider to seek relief in the future pursuant to

section 366(c)(3)(A).




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               Case 23-10961-BLS         Doc 11        Filed 07/22/23   Page 29 of 30




         9.     The Debtors’ banks may rely on the representations of the Debtors with respect to

whether any check or other transfer drawn or issued by the Debtors prior to the Petition Date

should be honored pursuant to this Final Order, and any such bank shall not have any duty of

further inquiry or liability to any party for relying on such representations by the Debtors.

         10.    Any Utility Provider may request relief from this Order and may request an

expedited hearing on such request.

         11.    The Debtors are authorized to take all actions necessary to effectuate the relief

granted in this Interim Order in accordance with the Motion.

         12.    Notwithstanding any applicability of Bankruptcy Rule 6004(h), the terms and

conditions of this Final Order shall be immediately effective and enforceable upon its entry.

         13.    The Court shall retain jurisdiction to hear and determine all matters arising from

the implementation of this Final Order.

         14.    Counsel for the Debtors is directed to serve a copy of this Final Order on all the

parties that received service of the Motion within three (3) days of the entry of this Final Order

and to file a certificate of service with the Clerk of Court.




00054145.3                                         5
                               Case 23-10961-BLS         Doc 11     Filed 07/22/23     Page 30 of 30




                                                           EXHIBIT 1

                                                      Utilities Service List




                                                                                                                       Creditor
                   Name                       Address1               Address2              City        State   Zip
                                                                                                                       Type

                                                                                                                       All
       18-27A 42ND STREET ASTORIA LLC   18-27A 42ND STREET                           ASTORIA           NY      11105   Utilities
       FRONTIER COMMUNICATIONS          401 MERRIT 7                                 NORWALK            CT     06851   Telecom
                                        ACCT#
       COMCAST                          8220202106047755          P O BOX 530099     ATLANTA           GA      30353   Telecom
                                                                                                                       All
       LANE LAND DEVELOPMENT LLC        200 E. FORSYTH                               JACKSONVILLE       FL     32202   Utilities
       ADT SECURITY SERVICES            P. O. Box 371878                             Pittsburgh         PA     15250   Security
       VERIZON WIRELESS                 P.O.BOX 660108                               DALLAS            TX      75266   Telecom
       WOW! INTERNET CABLE AND                                    ACCT 3007-1974-
       PHONE                            P O BOX 71101             7                  CHARLOTTE         NC      28272   Telecom
       GRANITE TELECOMMUNICATIONS       100 NEWPORT
       LLC                              AVENUE EXTENSION                             QUINCY            MA      02171   Telecom
       VERIZON WIRELESS                 P.O.BOX 660108                               DALLAS            TX      75266   Telecom




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